   Case 1:08-cr-00214-RJA-HBS     Document 112     Filed 12/22/11   Page 1 of 2




UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


            v.                                        ORDER
                                                    08-CR-214

AMANDA GOSS,
                               Defendant.




      This case was referred to Magistrate Judge Hugh B. Scott, pursuant to 28

U.S.C. § 636(b)(1). On November 3, 2010, defendant filed a motion to suppress.

On September 20, 2011, Magistrate Judge Scott filed a Report and

Recommendation, recommending that defendant's motion to suppress physical

evidence be denied.

      Defendant filed objections to the Report and Recommendation on

November 10, 2011 and the government filed a response thereto. Oral argument

on the objections was held on December 14, 2011.

      Pursuant to 28 U.S.C. § 636(b)(1), this Court must make a de novo

determination of those portions of the Report and Recommendation to which

objections have been made. Upon a de novo review of the Report and

Recommendation, and after reviewing the submissions and hearing argument

from the parties, the Court adopts the proposed findings of the Report and

Recommendation.
   Case 1:08-cr-00214-RJA-HBS     Document 112    Filed 12/22/11   Page 2 of 2




     Accordingly, for the reasons set forth in Magistrate Judge Scott's Report

and Recommendation, defendant's motion to suppress physical evidence is

denied.

     The case is referred back to Magistrate Judge Scott for further proceedings.


     SO ORDERED.

                                     s/ Richard J. Arcara
                                     HONORABLE RICHARD J. ARCARA
                                     UNITED STATES DISTRICT JUDGE

DATED:December 22, 2011




                                        2
